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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
                               Criminal No. 19-36 (SRN/HB)

UNITED STATES OF AMERICA,                     )
                                              )       DISCOVERY DECLARATION AND
                       Plaintiff,             )       OUTLINE OF PRE-TRIAL MOTIONS
                                              )
               V.                             )
                                              )
HURIAH KAREEM BLEDSOE,                        )
                                              )
                       Defendant.             )


       Huriah Kareem Bledsoe is charged in a four-count indictment with possession with

the intent to distribute controlled substances, possession of firearms in furtherance of a

drug trafficking crime, felon in possession of a firearm as an Armed Career Criminal and

possession of body armor by a violent felon on January 17, 2019. Through counsel, he

respectfully offers the following declaration concerning the status of discovery in this case

and outline of the pre-trial motions that are being filed. 1

DISCOVERY

       Counsel received discovery containing reports, photographs, videos and interviews

of Michelle Hall and Mr. Bledsoe. Counsel is filing a discovery motion requesting




       1
          This submission is intended as a review of the discovery provided to date and of the
discovery and suppression motions filed along with it, and not as a means of avoiding reciprocal
discovery obligations under Rule 16 of the Federal Rules of Criminal Procedure. Counsel seeks
discovery of all materials to which the defense is entitled under any and all laws, rules and
regulations, and do not object to the motions for reciprocal discovery that are now routinely offered
by the government.
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disclosure of any additional Rule 16 discovery that the government may receive in the

future.

MOTIONS

          Aside from the discovery motion, Counsel is filing the following motions:

          1.    Disclosure of 404(b) evidence
          2.    Disclosure of Brady evidence
          3.    Disclosure of Expert Testimony
          4.    Retention of Rough Notes
          5.    Bill of Particulars
          6.    To Suppress January 17, 2019 Statement
          7.    To Suppress Physical Evidence Obtained as a Result of the Search and
                Seizure of items from Room #228 of the Extended Stay Hotel and from a
                Grey Mercury Marquise.

Counsel anticipates that the motions to suppress statements (identified as motion #6) will

require testimony.

MEET AND CONFER

          On July 30, 2019, the undersigned and the government conferred by phone

pursuant to and in accordance with L.R. 12. 1 to clarify and narrow issues.


Dated: July 30, 2019                              Respectfully submitted,

                                                  s/ Manny K. Atwal
                                                  MANNY K. ATWAL
                                                  Attorney ID No. 0282029
                                                  Attorney for Mr. Bledsoe
                                                  107 U.S. Courthouse
                                                  300 South Fourth Street
                                                  Minneapolis, MN 55415
